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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                       CRIMINAL ACTION NO. 1:05CR87


SHERRY LOUCH and PERRY BROOKS

                                               ORDER

        This cause is before the Court on the defendant’s Motion to Continue Trial Setting and

Scheduling Order Deadlines [53-1]. The Court, having reviewed the motion and being otherwise

fully advised in the premises, finds as follows, to-wit:

        The trial of this matter is currently set for January 3, 2006. Defense counsel represents in the

motion that he has a conflict due to a prior existing trial setting. Rule 16.3 of the Uniform Local

Rules provides: “When the Court has set a case for trial . . . which conflicts with a court appearance

of counsel in other courts, the first case having a firm setting shall control . . . .” The Court is also

advised that the government does not oppose the requested continuance.

        These circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A), the

period of delay from January 3, 2006 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given defense counsel’s conflicting prior trial setting

in another court, a continuance is required under the Local Rules and in order to ensure the

availability of defense counsel at the trial of this cause. Therefore, the Court finds that the ends of

justice served by the granting of this continuance outweigh the best interests of the public and the

defendants in a speedy trial.
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IT IS, THEREFORE, ORDERED AND ADJUDGED that

1.     The defendant’s Motion for Continuance of Trial Date is GRANTED;

2.    That the trial of this matter is continued as to all defendants until Monday, February

      13, 2006 at 9:00 a.m. in the United States District Courthouse in Greenville,

      Mississippi; multiple voir dire is to be held at the same time and place;

3.    That the delay from January 3, 2006 until February 13, 2006 is excluded as set out

      above;

4.    That the deadline for filing pretrial motions is January 23, 2006;

5.    That the deadline for submitting a plea agreement is January 30, 2006.

SO ORDERED, this the 22nd day of November, 2006.


                                             /s/ W. Allen Pepper, Jr.
                                             W. ALLEN PEPPER, JR.
                                             UNITED STATES DISTRICT JUDGE
